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                                                                                  U.S. BANKRUPTCY COURT
                                                                                NORTHERN DISTRICT OF TEXAS


                                                                                   ENTERED
                                                                                TAWANA C. MARSHALL, CLERK
                                                                                   THE DATE OF ENTRY IS
                                                                                  ON THE COURT'S DOCKET



The following constitutes the ruling of the court and has the force and effect therein described.



 Signed April 15, 2014
______________________________________________________________________



                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                )
     In re                                      ) Chapter 15
                                                )
     MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                                )
                Debtor in a Foreign Proceeding. )
                                                )

                  ORDER GRANTING REQUEST FOR EMERGENCY HEARING
                               [Relates to Dkt. Nos. 76, 77]

             The Court hereby GRANTS the Debtor’s request for emergency consideration [Dkt. No.

     77] of Debtor’s Emergency Motion for Continuance of Deposition. Therefore, it is hereby

     ORDERED that:

             A hearing on the Debtor’s Emergency Motion for Continuance of Deposition [Dkt. No.

     76] is set to occur on April 16, 2014 at 9:30 a.m. (Prevailing Central Time) and will take place

     before the Honorable Stacey G.C. Jernigan, at the United States Bankruptcy Court,

     Northern District of Texas, 14th Floor, 1100 Commerce Street, Dallas, Texas 75252.

                                       # # # END OF ORDER # # #



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 Prepared and submitted by:

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 - and -

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